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8                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
9

10   ADAM GHADIRI                                      Case No.: 8:21-cv-01290-KES

11                  Plaintiff,

12   vs.
13
     DONS TURF MOTEL, a business entity;
14   DOROTHY LYNCH, an individual; LYNCH               JOINT STIPULATION FOR DISMISSAL
     TURF COURSE, LLC, a California limited            [PROPOSED] ORDER
15   liability company;

16                  Defendants
17

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                    JOINT STIPULATION OF DISMISSAL PROPOSED ORDER
20
            The stipulation is approved. The entire action, including all claims and counterclaims
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     stated herein against all parties is hereby dismissed with prejudice.

23            11/1/2021
     Dated: ___________________

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25
                                           _____________________________________________
26                                         HONORABLE JUDGE OF U.S. DISTRICT COURT

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28                                            1
     JOINT STIPULATION OF DISMISSAL [PROPOSED] ORDER
